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AO 247 (Rev. 11/11) Order Regarding Motion for Sentence Reduction Pursuant to 18 U.S.C. § 3582(c)(2)         Page 1 of 2 (Page 2 Not for Public Disclosure)


                                      UNITED STATES DISTRICT COURT
                                                                        for the
                                                    EASTERN            District of     CALIFORNIA

                    United States of America
                               v.                                          )
                                                                           )    Case No:       1:10CR00419-003 LJO
             JOSE MANUEL CORONA AGUILAR                                    )
                                                                           )    USM No: 65283-097
Date of Original Judgment:         01/17/2012                              )
Date of Previous Amended Judgment:                                         )    David M. Porter, Assistant Federal Defender
(Use Date of Last Amended Judgment if Any)                                      Defendant’s Attorney

                  ORDER REGARDING MOTION FOR SENTENCE REDUCTION
                           PURSUANT TO 18 U.S.C. § 3582(c)(2)
        Upon motion of        the defendant      the Director of the Bureau of Prisons       the court under 18 U.S.C.
§ 3582(c)(2) for a reduction in the term of imprisonment imposed based on a guideline sentencing range that has
subsequently been lowered and made retroactive by the United States Sentencing Commission pursuant to 28 U.S.C.
§ 994(u), and having considered such motion, and taking into account the policy statement set forth at USSG §1B1.10
and the sentencing factors set forth in 18 U.S.C. § 3553(a), to the extent that they are applicable,
IT IS ORDERED that the motion is:
              DENIED.        GRANTED and the defendant’s previously imposed sentence of imprisonment (as reflected in
the last judgment issued) of      70 months          months is reduced to               63 months              .
                                              (Complete Parts I and II of Page 2 when motion is granted)




Except as otherwise provided, all provisions of the judgment dated                          01/17/2012           shall remain in effect.
IT IS SO ORDERED.

Order Date:                  02/04/2015                                                           /s/ Lawrence J. O'Neill
                                                                                                       Judge’s signature


Effective Date:              11/01/2015                                  LAWRENCE J. O'NEILL, UNITED STATES DISTRICT JUDGE
